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                                                                                United States District Court
                                                                                  Southern District of Texas

                                                                                     ENTERED
                           UNITED STATES DISTRICT COURT                            October 20, 2020
                            SOUTHERN DISTRICT OF TEXAS                            David J. Bradley, Clerk
                              CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA,                       §
 Plaintiff,                                     §
                                                §
       v.                                       §           CRIMINAL NO. 2:18-1336-8
                                                §
RAYMOND SHANE TOWNZEN,                          §
 Defendant.                                     §

                           MEMORANDUM OPINION & ORDER

       Pending before the Court is Defendant Raymond Shane Townzen’s Application for

Modification of Sentence Pursuant to 18 U.S.C. Section 3582(c)(1)(A)(I) as a Result of COVID-

19. D.E. 379.

I. BACKGROUND

       In 2019, Defendant pled guilty to conspiracy to possess with intent to distribute a

synthetic cannabinoid. He has served 22 months (15%) of his 150-month sentence and has a

projected release date, after good time credit, of September 10, 2029. Defendant now moves the

Court to reduce his sentence to 41 months—which he says will cause him to be immediately

released to home confinement—because his seasonal allergies increase his likelihood of

contracting COVID-19 in prison.

       Defendant submitted an administrative request for a sentence reduction based on the

current COVID-19 pandemic on August 18, 2020. The warden at FCI Three Rivers denied the

request on September 3, 2020. Defendant submitted a second request for a sentence reduction on

September 9, 2020, but it is unclear what response he received, if any.




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II. LEGAL STANDARD

       The statute, 18 U.S.C. § 3582(c)(1)(A), authorizes a court to reduce a defendant’s

sentence under limited circumstances:

              (c) Modification of an Imposed Term of Imprisonment.—The
              court may not modify a term of imprisonment once it has been
              imposed except that—
                  (1) in any case—
                     (A) the court, upon motion of the Director of the Bureau of
                     Prisons, or upon motion of the defendant after the
                     defendant has fully exhausted all administrative rights to
                     appeal a failure of the Bureau of Prisons to bring a motion
                     on the defendant’s behalf or the lapse of 30 days from the
                     receipt of such a request by the warden of the defendant’s
                     facility, whichever is earlier, may reduce the term of
                     imprisonment (and may impose a term of probation or
                     supervised release with or without conditions that does not
                     exceed the unserved portion of the original term of
                     imprisonment), after considering the factors set forth in
                     section 3553(a) to the extent that they are applicable, if it
                     finds that—
                          (i) extraordinary and compelling reasons warrant such
                          a reduction . . . and that such a reduction is consistent
                          with applicable policy statements issued by the
                          Sentencing Commission.

18 U.S.C. § 3582(c)(1)(A)(i) (emphasis added).

       The applicable United States Sentencing Commission policy statement provides that

extraordinary and compelling reasons for early release exist where:

              (A) Medical Condition of the Defendant.—
                  (i) The defendant is suffering from a terminal illness (i.e., a
                  serious and advanced illness with an end of life trajectory). A
                  specific prognosis of life expectancy (i.e., a probability of
                  death within a specific time period) is not required. Examples
                  include metastatic solid-tumor cancer, amyotrophic lateral
                  sclerosis (ALS), end-stage organ disease, and advanced
                  dementia.

                   (ii) The defendant is—
                         (I) suffering from a serious physical or medical condition,




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                         (II) suffering from a serious functional or cognitive
                         impairment, or
                         (III) experiencing deteriorating physical or mental health
                         because of the aging process,

                         that substantially diminishes the ability of the defendant
                         to provide self-care within the environment of a
                         correctional facility and from which he or she is not
                         expected to recover.

               (B) Age of the Defendant. –
                    The defendant is (i) at least 65 years old; (ii) is experiencing
                    a serious deterioration in physical or mental health because of
                    the aging process; and (iii) has served at least 10 years or 75
                    percent of his or her term of imprisonment, whichever is less;

               (C) Family Circumstances. –
                    (i) The death or incapacitation of the caregiver of the
                    defendant’s minor child or minor children.

                     (ii)   The incapacitation of the defendant’s spouse or
                     registered partner when the defendant would be the only
                     available caregiver for the spouse or registered partner.

               (D) Other Reasons. –
                   As determined by the Director of the Bureau of Prisons, there
                   exists in the defendant’s case an extraordinary or compelling
                   reason other than, or in combination with, the reasons
                   described in subdivisions (A) through (C).

       U.S.S.G. § 1B1.13(1)(A), Application Note 1.

       Even if “extraordinary and compelling reasons” for early release exist, the Guidelines’

policy statements provide for a reduction in sentence only if a defendant “is not a danger to the

safety of any other person or the community, as provided in 18 U.S.C. §3142(g).” U.S.S.G. §

1B1.13(2). Factors relevant to this inquiry include: (1) the nature and circumstances of the

offenses of conviction, including whether the offense is a crime of violence, or involves a minor

victim, a controlled substance, or a firearm, explosive, or destructive device; (2) the weight of

the evidence; (3) the defendant’s history and characteristics; and (4) the nature and seriousness of



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the danger to any person or the community that would be posed by the defendant’s release. See

18 U.S.C. § 3142(g).

         The Court must also consider whether a reduction is consistent with the applicable

section 3553(a) factors. See 18 U.S.C. § 3582(c)(1)(A); U.S.S.G. § 1B1.13. The applicable

statutory factors include, among others: the defendant’s history and characteristics; the nature

and circumstances of the offense; the need for the sentence to reflect the seriousness of the

offense, promote respect for the law, and provide just punishment for the offense; the need to

deter criminal conduct and protect the public from further crimes of the defendant; the need to

provide the defendant with, among other things, any needed medical treatment; and the various

kinds of sentences available. See 18 U.S.C. §§ 3553(a)(1)-(7).

         With respect to motions for compassionate release based on COVID-19:

                A review of a motion for release based on COVID-19 is highly
                fact-intensive and dependent on the specific conditions of
                confinement and medical circumstances faced by the defendant.
                Hence, a prisoner cannot satisfy his burden of proof by simply
                citing to nationwide COVID-19 statistics, asserting generalized
                statements on conditions of confinement within the BOP, or
                making sweeping allegations about a prison’s ability or lack
                thereof to contain an outbreak. . . . [T]he rampant spread of the
                coronavirus and the conditions of confinement in jail, alone, are
                not sufficient grounds to justify a finding of extraordinary and
                compelling circumstances. Rather, those circumstances are
                applicable to all inmates who are currently imprisoned and hence
                are not unique to any one person.

United States v. Koons, 2020 WL 1940570, at *4 & n.8 (W.D. La. Apr. 21, 2020) (citing

United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020)).

         “In general, the defendant has the burden to show circumstances meeting the test for

compassionate release.” United States v. Stowe, 2019 WL 4673725, at *2 (S.D. Tex. Sept. 25,

2019).




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III. ANALYSIS

        Defendant is 29 years old. He claims to have a history of seasonal allergies; however,

seasonal allergies have not been identified as a COVID-19 risk factor, and he has offered no

evidence that he suffers from any underlying medical condition that would make him particularly

vulnerable to severe illness or death should he contract COVID-19. 1 “The Court cannot release

every prisoner at risk of contracting COVID-19 because the Court would then be obligated to

release every prisoner.” Koons, 2020 WL 1940570 at *4. “General concerns about the spread of

COVID-19 or the mere fear of contracting an illness in prison are insufficient grounds to

establish the extraordinary and compelling reasons necessary to reduce a sentence.” Id. at *5.

Without more, Defendant cannot meet his burden of showing that extraordinary or compelling

reasons warrant his release.

IV. EIGHTH AMENDMENT CLAIMS

        To the extent Defendant wishes to pursue his claims for “cruel and unusual punishment

under the Eighth Amendment” for requiring him to serve the remainder of his sentence “in these

present conditions,” he may file a separate civil action. However, the Court does not have the

statutory authority to reduce Defendant’s sentence based on the alleged conditions of

confinement.



         1. According to the Centers for Disease Control and Prevention, older adults (age 65 and above) and
people of any age who have certain underlying medical conditions are at higher risk for severe illness from COVID-
19. People with Certain Medical Conditions, CDC (Oct. 16, 2020), https://www.cdc.gov/coronavirus/2019-
ncov/need-extra-precautions/people-with-medical-conditions.html. Adults of any age with the following conditions
are at increased risk of severe illness from COVID-19: Cancer, Chronic kidney disease; COPD (chronic obstructive
pulmonary disease); Immunocompromised state from solid organ transplant; Obesity; Serious heart conditions, such
as heart failure, coronary artery disease, or cardiomyopathies; Sickle cell disease; Smoking; and Type 2 diabetes
mellitus. Adults with the following conditions might be at an increased risk for severe illness from COVID-19:
Asthma (moderate-to-severe); Cerebrovascular disease; Cystic fibrosis; Hypertension; Immunocompromised state
from blood or bone marrow transplant, immune deficiencies, HIV, use of corticosteroids, or use of other immune
weakening medicines; Neurologic conditions, such as dementia; Liver disease; Pregnancy; Pulmonary fibrosis;
Smoking; Thalassemia; and Type 1 diabetes mellitus.



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V. CONCLUSION

      For the foregoing reasons, Defendant’s Application for Modification of Sentence

Pursuant to 18 U.S.C. Section 3582(c)(1)(A)(I) as a Result of COVID-19 (D.E. 379) is

DENIED.

    It is so ORDERED this 20th day of October, 2020.




                                         ____________________________________
                                                    JOHN D. RAINEY
                                              SENIOR U.S. DISTRICT JUDGE




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